
61 So.3d 496 (2011)
Jamie C. RODRIGUEZ, Appellant,
v.
STATE of Florida, Appellee.
No. 2D10-999.
District Court of Appeal of Florida, Second District.
May 27, 2011.
James Marion Moorman, Public Defender, and Pamela H. Izakowitz, Assistant Public Defender, Bartow, for Appellant.
Pamela Jo Bondi, Attorney General, Tallahassee, and Marilyn Muir Beccue, Assistant Attorney General, Tampa, for Appellee.
PER CURIAM.
We affirm, but we remand with directions to the circuit court to correct Rodriguez's probation order, which incorrectly states that he was convicted of first-degree murder and sexual battery, and to conform the probation order to the judgment, which accurately reflects that Rodriguez was convicted of second-degree murder. Rodriguez need not be present for this correction.
Affirmed and remanded.
NORTHCUTT, KELLY, and WALLACE, JJ., Concur.
